        Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 1 of 37 PageID #:1




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 CHICAGO DIVISION


FUND THAT FLIP, INC., a Delaware                 CIVIL CASE NO.:
corporation
79 Madison Avenue
Floor 7
New York, New York 10016                         THE HONORABLE
                                                 UNITED STATES DISTRICT JUDGE
               Plaintiff
vs.
RENEWD HOMES, INC., an               Illinois    THE HONORABLE
corporation                                      UNITED STATES MAGISTRATE JUDGE
Attn: Thomas S. O’Neill, President
12134 Oxford Court
Lemont, Illinois 60439

Please also serve:
Attn: Nona Brady, Registered Agent
2540 Ridge Road
Lansing, Illinois 60438

-and-

THOMAS O’NEILL,
aka THOMAS S. O’NEILL,
aka TOM SEAN O’NEILL,
aka THOMAS SEAN O’NEILL,
aka TOM O’NEILL,
aka THOMAS O’NEAL,
aka THOMAS J. O’NEILL,
aka TS O’NEILL,
aka THOMAS N. O’NEILL,
aka THOMAS S. NEILL, an individual and
resident of the State of Illinois
12134 Oxford Court
Lemont, Illinois 60439

-and-
        Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 2 of 37 PageID #:1




LAUTENBACH FAMILY TRUST DATED
APRIL 24, 1996
Attn: Kenneth E. Lautenbach, Trustee
18410 South 115th Avenue
Orland Park, Illinois 60467

-and-

SCHILLING BROTHERS LUMBER                   OF
ILLINOIS, INC., an Illinois corporation
Attn: Dean E. Schilling, Vice President
8900 Wicker Avenue
St. John, Indiana 46373

Please also serve:
Attn: Dean E. Schilling, Registered Agent
9900 191st Street
Mokena, Illinois 60448

-and-

KENNETH E. LAUTENBACH, II, an
individual and resident of the State of Illinois
10635 White Tail Run
Orland Park, Illinois 60467

-and-

JEFF GALLICHIO, an individual and resident
of the State of Illinois
23313 Sunburst Point
Frankfort, Illinois 60423

               Defendants
      Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 3 of 37 PageID #:1




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   CHICAGO DIVISION


FUND THAT FLIP, INC., a Delaware                     CIVIL CASE NO.:
corporation
              Plaintiff
vs.                                                  THE HONORABLE
                                                     UNITED STATES DISTRICT JUDGE
RENEWD HOMES, INC., an Illinois
corporation; THOMAS O’NEILL, aka
THOMAS S. O’NEILL, aka TOM SEAN
O’NEILL, aka THOMAS SEAN O’NEILL,                    THE HONORABLE
aka TOM O’NEILL, aka THOMAS O’NEAL,                  UNITED STATES MAGISTRATE JUDGE
aka THOMAS J. O’NEILL, aka TS O’NEILL,
aka THOMAS N. O’NEILL, aka THOMAS S.
NEILL, an individual and resident of the State
of Illinois; LAUTENBACH FAMILY TRUST
DATED APRIL 24, 1996; SCHILLING
BROTHERS LUMBER OF ILLINOIS, INC.,
an Illinois corporation; KENNETH E.
LAUTENBACH, II, an individual and resident
of the State of Illinois; and JEFF
GALLICHIO, an individual and resident of the
State of Illinois

              Defendants



   COMPLAINT FOR (1) BREACH OF NOTE DATED JULY 15, 2016, (2) BREACH OF
    GUARANTY DATED JULY 15, 2016, (3) FORECLOSURE OF MORTGAGE AND
   SECURITY AGREEMENT DATED JULY 15, 2016, (4) BREACH OF NOTE DATED
    MARCH 7, 2017, (5) BREACH OF GUARANTY DATED MARCH 7, 2017, and (6)
  FORECLOSURE OF MORTGAGE AND SECURITY AGREEMENT DATED MARCH 7,
                                   2017

                      1426 Maple Street, Western Springs, Illinois 60558
                        (Property Identification #18-06-121-022-0000)

                           747 Arlington Road, Riverside, Illinois 60546
                          (Property Identification #15-25-416-022-0000)
      Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 4 of 37 PageID #:1




        Now comes the Plaintiff, Fund That Flip, Inc., a Delaware corporation (“FTF” or

“Lender”), by and through its undersigned counsel, and for its Complaint against Defendants,

Renewd Homes, Inc., an Illinois corporation (“Renewd Homes”), Thomas O’Neill, aka Thomas

S. O’Neill, aka Tom Sean O’Neill, aka Thomas Sean O’Neill, aka Tom O’Neill, aka Thomas

O’Neal, aka Thomas J. O’Neill, aka TS O’Neill, aka Thomas N. O’Neill, aka Thomas S. Neill,

an individual and resident of the State of Illinois (“O’Neill”), Lautenbach Family Trust Dated

April 24, 1996 (“Lautenbach Family Trust”), Schilling Brothers Lumber of Illinois, Inc., an

Illinois corporation (“Schilling Brothers”), Kenneth E. Lautenbach, II, an individual and resident

of the State of Illinois (“Lautenbach”), and Jeff Gallichio, an individual and resident of the State

of Illinois (“Gallichio”), states as follows:

                                                PARTIES

        1.      The Plaintiff, FTF, is and was at all times mentioned below, a corporation

organized and existing by virtue of the laws of the State of Delaware. The Plaintiff maintains (a)

an address for service of process in care of Corporation Service Company, Registered Agent, at

208 South LaSalle Street, Suite 814, Chicago, Illinois 60604, and (b) a principal place of

business at 79 Madison Avenue, Floor 7, New York, New York 10016. Accordingly, for

diversity purposes, the Plaintiff is a citizen of the State of Delaware (state of incorporation) and

the State of New York (state of principal place of business).

        2.      Upon information and belief, Defendant, Renewd Homes, is and was at all times

mentioned below, a corporation organized and existing by virtue of the laws of the State of

Illinois. Defendant, upon information and belief, maintains (a) an address for service of process

in care of (i) Thomas S. O’Neill, President, at 12134 Oxford Court, Lemont, Illinois 60439, and

(ii) Nona Brady, Registered Agent, at 2540 Ridge Road, Lansing, Illinois 60438, and (b) a
      Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 5 of 37 PageID #:1




principal place of business at 12134 Oxford Court, Lemont, Illinois 60439. Accordingly, for

diversity purposes, Defendant is a citizen of the State of Illinois (state of incorporation) and the

State of Illinois (state of principal place of business).

        3.      Upon information and belief Defendant, O’Neill, is and was at all times

mentioned below, an individual and resident of the State of Illinois. Defendant has an address

for service of process at 12134 Oxford Court, Lemont, Illinois 60439. Accordingly, for diversity

purposes, Defendant is a citizen of the State of Illinois.

        4.      Upon information and belief Defendant, Lautenbach Family Trust, is and was at

all times mentioned below, a trust organized and existing by virtue of the laws of the State of

Illinois. Defendant has an address for service of process in care of Kenneth E. Lautenbach,

Trustee, at 18410 South 115th Avenue, Orland Park, Illinois 60467. Accordingly, for diversity

purposes, Defendant is a citizen of the State of Illinois.

        5.      Upon information and belief, Defendant, Schilling Brothers, is and was at all

times mentioned below, a corporation organized and existing by virtue of the laws of the State of

Illinois. Defendant, upon information and belief, maintains (a) an address for service of process

in care of Dean E. Schilling, Registered Agent, at 9900 191 Street, Mokena, Illinois 60448, and

(b) a principal place of business at 8900 Wicker Avenue, St. John, Indiana 46373. Accordingly,

for diversity purposes, Defendant is a citizen of the State of Illinois (state of incorporation) and

the State of Indiana (state of principal place of business).

        6.      Upon information and belief Defendant, Lautenbach, is and was at all times

mentioned below, an individual and resident of the State of Illinois. Defendant has an address

for service of process at 10635 White Tail Run, Orland Park, Illinois 60467. Accordingly, for

diversity purposes, Defendant is a citizen of the State of Illinois.
      Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 6 of 37 PageID #:1




       7.      Upon information and belief Defendant, Gallichio, is and was at all times

mentioned below, an individual and resident of the State of Illinois. Defendant has an address

for service of process at 23313 Sunburst Point, Frankfort, Illinois 60423. Accordingly, for

diversity purposes, Defendant is a citizen of the State of Illinois.


                                  JURISDICTION AND VENUE

       8.      Jurisdiction exists in the judicial district comprising the Northern District of

Illinois pursuant to 28 U.S.C. § 1332(a) as there is complete diversity between all known parties

and the matter in controversy exceeds the amount of $75,000.00 exclusive of interest and costs.

       9.      Venue is proper in the judicial district comprising the Northern District of Illinois

pursuant to 28 U.S.C. § 1391(b)(2) as (a) a substantial portion of events giving rise to the claims

of the Plaintiff, FTF, occurred within Cook County, Illinois, and (b) the hereinafter-described

Property 1 and the hereinafter-described Property 2 are situated within Cook County, Illinois.


                                          BACKGROUND

       10.     On July 15, 2016, Defendant, Renewd Homes, executed a certain commercial

note (“Note 1”) dated July 15, 2016 in favor of FTF in the original principal amount of

$560,000.00, plus interest on the unpaid principal balance. Defendant delivered possession of

the original Note 1 to FTF. A true and accurate copy of Note 1 is attached hereto as Exhibit A

and incorporated herein by reference.

       11.     On July 15, 2016, in order to secure repayment of Note 1, Defendant, O’Neill,

executed a certain commercial guaranty (“Guaranty 1”) dated July 15, 2016 in favor of FTF.

Defendant delivered possession of the original Guaranty 1 to FTF. A true and accurate copy of

Guaranty 1 is attached hereto as Exhibit B and incorporated herein by reference.
      Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 7 of 37 PageID #:1




       12.    On July 15, 2016, in order to further secure repayment of Note 1, Defendant,

Renewd Homes, executed a certain commercial mortgage and security agreement (“Mortgage

1”) dated July 15, 2016 in favor of FTF.       Defendant delivered possession of the original

Mortgage 1 to FTF. A true and accurate copy of Mortgage 1 is attached hereto as Exhibit C and

incorporated herein by reference.

       13.    In Mortgage 1, Defendant, Renewd Homes, granted, mortgaged, and conveyed to

FTF and FTF’s successors and assigns, with mortgage covenants, all of Defendant’s right, title

and interest in and to one (1) parcel of real property more commonly known as 1426 Maple

Street, Western Springs, Illinois 60558 (Property Identification #18-06-121-022-0000)

(“Property 1”) and more fully described as follows:

              LOT 13 IN THE SUBDIVISION OF BLOCK 10 IN J.C. CALDWELL’S
              SUBDIVISION OF C.C. LAYS ADDITION TO WESTERN SPRINGS
              (EXCEPT BLOCK 15 AND THE NORTH 2 ACRES OF THE LAST 1/2
              BLOCK 16, INCLUDING THE 1/2 STREETS) BEING A
              SUBDIVISION OF THE EAST PART OF THE NORTHWEST 1/4 OF
              SECTION 6, TOWNSHIP 38 NORTH, RANGE 12, EAST OF THE
              THIRD PRINCIPAL MERIDIAN AND 3.554 ACRES IN THE SOUTH
              PART OF SECTION 31, TOWNSHIP 39 NORTH, RANGE 12, EAST
              OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY,
              ILLINOIS.

              Address: 1426 Maple Street, Western Springs, Illinois 60558

              Property Identification No.: 18-06-121-022-0000

       14.    FTF perfected Mortgage 1 by filing Mortgage 1 for record and recording

Mortgage 1 on August 1, 2016 in the Office of the Recorder of Deeds of Cook County, Illinois as

Document #1621434186.

       15.    On March 7, 2017, Defendant, Renewd Homes, executed a certain commercial

note (“Note 2”) dated March 7, 2017in favor of FTF in the original principal amount of

$340,000.00, plus interest on the unpaid principal balance. Defendant delivered possession of
      Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 8 of 37 PageID #:1




the original Note 2 to FTF. A true and accurate copy of Note 2 is attached hereto as Exhibit D

and incorporated herein by reference.

       16.    On March 7, 2017, in order to secure repayment of Note 2, Defendant, O’Neill,

executed a certain commercial guaranty (“Guaranty 2”) dated March 7, 2017 in favor of FTF.

Defendant delivered possession of the original Guaranty 2 to FTF. A true and accurate copy of

Guaranty 2 is attached hereto as Exhibit E and incorporated herein by reference.

       17.    On March 7, 2017, in order to further secure repayment of Note 2, Defendant,

Renewd Homes, executed a certain commercial mortgage and security agreement (“Mortgage

2”) dated March 7, 2017 in favor of FTF. Defendant delivered possession of the original

Mortgage 2 to FTF. A true and accurate copy of Mortgage 2 is attached hereto as Exhibit F and

incorporated herein by reference.

       18.    In Mortgage 2, Defendant, Renewd Homes, granted, mortgaged, and conveyed to

FTF and FTF’s successors and assigns, with mortgage covenants, all of Defendant’s right, title

and interest in and to one (1) parcel of real property more commonly known as 747 Arlington

Road, Riverside, Illinois 60546 (Property Identification #15-25-416-022-0000) (“Property 2”)

and more fully described as follows:

              LOT SEVENTY (70) IN SUBDIVISION OF LOT “A” IN KIRCHMAN
              AND JEDLANS RIVERSIDE PARKWAY AND HARLEM AVENUE
              SUBDIVISION OF THAT PART OF LOT TWO (2) LYING SOUTH OF
              THE CENTER OF RIVERSIDE PARKWAY, AND ALL OF LOTS
              THREE AND FOUR OF CIRCUIT COURT PARTITION OF
              SOUTHEAST QUARTER OF SOUTHEAST QUARTER AND THE
              EAST HALF OF THE NORTHEAST QUARTER OF SOUTHEAST
              QUARTER OF SECTION 25, TOWNSHIP 39 NORTH, RANGE 12,
              EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY,
              ILLINOIS.

              Address: 747 Arlington Road, Riverside, Illinois 60546

              Property Identification No.: 15-25-416-022-0000
      Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 9 of 37 PageID #:1




       19.     FTF perfected Mortgage 2 by filing Mortgage 2 for record and recording

Mortgage 2 on May 11, 2017 in the Office of the Recorder of Deeds of Cook County, Illinois as

Document #1713149339.

       20.     FTF performed all of the conditions precedent required under Note 1, Guaranty 1

and Mortgage 1 since July 15, 2016.

       21.     FTF performed all of the conditions precedent required under Note 2, Guaranty 2

and Mortgage 2 since March 7, 2017.

       22.     FTF has possession of the original Note 1, the original Guaranty 1, the original

Mortgage 1, the original Note 2, the original Guaranty 2, and the original Mortgage 2.

       23.     Defendant, Renewd Homes, is the real owner of Property 1. A true and accurate

copy of the vesting deed is attached hereto as Exhibit G and incorporated herein by reference.

       24.     Defendant, Renewd Homes, is the real owner of Property 2. A true and accurate

copy of the vesting deed is attached hereto as Exhibit H and incorporated herein by reference.


                                         COUNT ONE
                                        Breach of Note 1
                                    Defendant, Renewd Homes

       25.     For Count One of the Complaint, the Plaintiff, FTF, adopts, reaffirms and

reincorporates all of the aforesaid allegations and statements as if fully rewritten herein.

       26.     According to the terms of Note 1, Defendant, Renewd Homes, agreed as follows:

               1.      BORROWER’S PROMISE TO PAY. In return for a loan made by
                       Lender to Borrower secured by that certain Mortgage (as hereinafter
                       defined), Borrower promises to pay U.S. $560,000.00 (hereinafter the
                       “Principal”), plus interest and other sums due, to the order of Lender, in
                       accordance with the terms of this Note. Borrower will make all
                       payments under this Note in the form of check or federal funds transfer
                       to an account designated by Lender or in such other manner as may be
                       designated by Lender. Borrower understands that Lender may transfer
                       this Note. Lender or anyone who takes this Note by transfer and who is
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 10 of 37 PageID #:1



              entitled to receive payments under this Note is hereinafter called the
              “Note Holder.”

        2.    INTEREST. Absent an Event of Default (as hereinafter defined), interest
              under this Note shall be due and payable at the “Applicable Interest
              Rate” (as hereinafter defined) for the period from the date hereof through
              the Maturity Date, as the same may be extended, or through the earlier
              prepayment of the Loan in full. The term “Applicable Interest Rate,” as
              used herein, shall mean an interest rate equal to Eleven (11%) percent
              per annum. Interest for any month or fractional part thereof shall be
              calculated on the basis of a 30-day month and 360-day year, shall accrue
              and compound on a monthly basis, and shall be due and payable
              hereunder monthly.

        3.    PAYMENT TERMS.

              3.1.    Borrower agrees to pay sums under this Note in installments
                      as follows:

                      (a) On the date hereof in the sum of Fifteen Thousand
                          Four Hundred and 00/100 Dollars ($15,400) (Three
                          Months Interest) plus Two Thousand Seven
                          Hundred Thirty-Seven and 78/100 Dollars
                          ($2,737.78) (Balance of July Interest) representing
                          interest only from the date of this Note through
                          October 30, 2016.

                      (b) Commencing on August 1, 2016 and on the first day
                          of each month thereafter (“Monthly Payment Date”),
                          Borrower shall pay to Lender monthly installments
                          of interest only due in accordance with the terms of
                          this Note.

                      (c) All accrued and unpaid interest and the unpaid
                          principal balance hereof are due and payable on the
                          earlier to occur of (i) July 15, 2017 (the “Maturity
                          Date”), or (ii) the date on which the Indebtedness
                          (hereinafter defined) becomes immediately due and
                          payment hereunder.

                      (d) Borrower shall have the right to extend the Maturity
                          Date for one (1) three (3) month period from the
                          Maturity Date (the “Extension Term”), for a fee
                          payable to Lender equal to one percent (1%) of the
                          Principal, provided that there is no ongoing Event of
                          Default under this Note or the Loan Documents and
                          Borrower has delivered written notice to Lender that
                          they wish to exercise such extension at least forty-
                          five (45) days prior to the first day of the Extension
                          Term. The Maturity Date established by this
                          Extension Term shall be known as the “Extended
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 11 of 37 PageID #:1



                         Maturity Date” . . . .

        6.    DEFAULT AND ACCELERATION.

              6.1.   It is hereby expressly agreed that (A) the whole of the
                     principal sum of this Note, (B) interest, default interest, late
                     charges, fees and other sums, as provided in this Note, (C)
                     all other monies agreed or provided to be paid by Borrower
                     in this Note, the Mortgage or the Loan Documents, (D) all
                     sums advanced pursuant to the Mortgage and/or the Loan
                     Documents, and (E) all sums advanced and costs and
                     expenses incurred by Lender in connection with the
                     Indebtedness (as hereinafter defined) or any part thereof, any
                     renewal, extension, or change of or substitution for the
                     Indebtedness or any part thereof, or the acquisition or
                     perfection of the security granted pursuant to the Mortgage
                     and the other Loan Documents, whether made or incurred at
                     the request of Borrower or Lender (the sums referred to in
                     (A) through (E) above shall collectively be referred to as the
                     “Indebtedness”) shall, WITHOUT NOTICE (unless
                     otherwise provided herein), become immediately due and
                     payable at the option of the Note Holder upon the happening
                     of any of the following events (each, an “Event of Default”):

                     (a) Borrower fails to pay any amount due to Lender
                         under this Note, within 10 days after the due date for
                         such payment;

                     (b) Borrower fails to keep, observe or perform any other
                         promise, condition or agreement contained in this
                         Note, the Mortgage, the Loan Documents or any
                         other documents described herein or delivered in
                         connection herewith or is otherwise in default under
                         the terms, covenants and conditions of this Note, the
                         Mortgage and the Loan Documents, and such failure
                         or default is not remedied within thirty (30) days
                         after written notice to Borrower thereof, provided,
                         however, that if such failure or default is not capable
                         of being cured or remedied within said thirty (30)
                         day period, then if Borrower fails to promptly
                         commence to cure the same and thereafter diligently
                         prosecute such cure to completion but in any event
                         within sixty (60) days after notice thereof;

                     (c) There is a material misstatement in any certificate
                         and/or certification delivered in connection with this
                         Note, the Mortgage, and other Loan Documents, or
                         any representation, disclosure, warranty, statement,
                         financial information, application and/or other
                         instrument, record, documentation or paper made or
                         furnished by or on behalf of Borrower in connection
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 12 of 37 PageID #:1



                         with this Note shall be materially misleading, untrue
                         or incorrect as of the later of (i) the date hereof or
                         (ii) when made[] . . .

                     (f) Borrower or a member of Borrower shall have
                         concealed, removed and/or permitted to be
                         concealed or removed any substantial part of its
                         property and/or assets with the intent to hinder,
                         delay or defraud Lender of any of its property and/or
                         assets which may be fraudulent under any federal or
                         state bankruptcy, fraudulent conveyance or similar
                         law now or hereafter enacted, or if Borrower shall
                         have made any transfer of any of its property and/or
                         assets to or for the benefit of a creditor at a time
                         when other creditors similarly situated have not been
                         paid, or if Borrower shall have suffered or permitted
                         to be suffered, while insolvent, any creditor to obtain
                         a lien upon any of its property and/or assets through
                         legal proceedings or distraint which is not vacated
                         within 60 days from the date of entry thereof;

                     (g) Borrower defaults under any other note, instrument,
                         agreement, contract, pledge, mortgage or
                         encumbrance evidencing and/or securing the
                         Indebtedness or any other indebtedness of Borrower
                         to Lender, and such event or occurrence is not
                         remedied or cured within ten (10) days after notice
                         thereof or an “event of default” (as defined in such
                         other note, instrument, agreement, contract, pledge,
                         mortgage or encumbrance) shall have occurred[] . . .

        7.    DEFAULT INTEREST/LATE CHARGES.

              7.1.   From and after the occurrence of an Event of Default,
                     regardless of whether or not there has been a notice of
                     default issued by the Note Holder, interest shall accrue on
                     the outstanding Principal Sum, and shall be payable, at a rate
                     equal to twenty-four percent (24%) per annum (the “Default
                     Rate”). The Default Rate shall remain in effect until any and
                     all Events of Default shall have been cured. In addition, the
                     Default Rate shall remain in effect during any period of
                     default even upon the acceleration of the indebtedness
                     evidence by this Note. The Default Rate shall be in effect at
                     all times after the maturity of the Indebtedness (whether on
                     the Maturity Date, by acceleration or otherwise). Upon
                     acceleration or maturity, the Default Rate shall remain in
                     effect until all sums due under this Note, the Mortgage and
                     the Loan Documents shall have been paid in full. This
                     clause, however, shall not be construed as an agreement or
                     privilege to extend the date of the payment of the
                     Indebtedness, or as a waiver of any other right or remedy
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 13 of 37 PageID #:1



                     accruing to Lender by reason of the occurrence of any Event
                     of Default.

              7.2.   Except for any payment of the Indebtedness after
                     acceleration, if any payment (or part thereof) provided for
                     herein shall not be made when due, a late charge of six
                     ($0.06) cents for each dollar so overdue shall become
                     immediately due and payable to the Note Holder as
                     liquidated damages for failure to make prompt payment and
                     the same shall be secured by the Mortgage. This fee is not a
                     penalty but a fee reasonably calculated to reimburse the Note
                     Holder for administrative and staff time. Such charge shall
                     be payable in any event no later than the due date of the next
                     subsequent installment or, at the option of Note Holder, may
                     be deducted from any deposits held by Lender as additional
                     security for this Note. Nothing herein is intended to or shall
                     extend the due dates set forth for payments under this Note.
                     Such late fee may be charged on any subsequent delinquent
                     payment. . . .

        8.    WAIVERS. . . .

              8.4.   BORROWER AND EACH ENDORSER AGREE THAT
                     ANY ACTION, SUIT OR PROCEEDING IN RESPECT OF
                     OR ARISING OUT OF THIS NOTE MAY BE INITIATED
                     AND PROSECUTED IN THE STATE OR FEDERAL
                     COURTS, AS THE CASE MAY BE, LOCATED IN THE
                     COUNTY OF COOK, STATE OF ILLINOIS.
                     BORROWER AND EACH ENDORSER CONSENT TO
                     AND SUBMIT TO THE JURISDICTION OF SUCH
                     COURTS OVER THE SUBJECT MATTER, WAIVE
                     PERSONAL SERVICE OF ANY AND ALL PROCESS
                     UPON IT AND CONSENT THAT ALL SUCH SERVICE
                     OF PROCESS BE MADE BY REGISTERED OR
                     CERTIFIED MAIL OR REPUTABLE OVERNIGHT
                     DELIVERY SERVICE DIRECTED TO BORROWER OR
                     SUCH ENDORSER AT ITS ADDRESS SET FORTH
                     ABOVE OR TO ANY OTHER ADDRESS AS MAY
                     APPEAR IN LENDER’S RECORDS AS THE ADDRESS
                     OF BORROWER OR SUCH ENDORSER.

              8.5.   IN ANY ACTION, SUIT OR PROCEEDING IN RESPECT
                     OF OR ARISING OUT OF THIS NOTE, BORROWER
                     AND EACH ENDORSER WAIVE TRIAL BY JURY IN
                     ANY ACTION, PROCEEDING OR COUNTERCLAIM,
                     WHETHER IN CONTRACT, TORT OR OTHERWISE,
                     RELATING DIRECTLY OR INDIRECTLY TO THE
                     LOAN    EVIDENCED    BY   THIS  NOTE,    THE
                     APPLICATION FOR THE LOAN EVIDENCED BY THIS
                     NOTE, THE MORTGAGE OR ANY OTHER LOAN
                     DOCUMENT, OR ANY ACTS OR OMISSIONS OF NOTE
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 14 of 37 PageID #:1



                              HOLDER, ITS OFFICERS, EMPLOYEES, DIRECTORS
                              OR AGENTS IN CONNECTION THEREWITH. THIS
                              WAIVER OF RIGHT TO TRIAL BY JURY IS GIVEN
                              KNOWINGLY AND VOLUNTARILY BY BORROWER
                              AND EACH ENDORSER, AND IS INTENDED TO
                              ENCOMPASS INDIVIDUALLY EACH INSTANCE AND
                              EACH ISSUE AS TO WHICH THE RIGHT TO A TRIAL
                              BY JURY WOULD OTHERWISE ACCRUE.

                      8.6.    BORROWER AND EACH ENDORSER ALSO WAIVE (I)
                              THE RIGHT TO INTERPOSE ANY SET-OFF OR
                              COUNTERCLAIM     OF   ANY    NATURE       OR
                              DESCRIPTION, OTHER THAN A MANDATORY OR
                              COMPULSORY     COUNTERCLAIM,    (II)    ANY
                              OBJECTION BASED ON FORUM NON CONVENIENS
                              OR VENUE, AND (III) ANY CLAIM FOR
                              CONSEQUENTIAL,    PUNITIVE   OR      SPECIAL
                              DAMAGES. . . .

              11.     MISCELLANEOUS. . . .

                      11.3.   Wherever pursuant to this Note it is provided that Borrower
                              pay any costs and expenses, such costs and expenses shall
                              include, without limitation, reasonable legal fees and
                              disbursements of Note Holder with respect to retained firms,
                              but shall not include the reimbursement of the expenses of
                              Note Holder’s in-house staff or counsel. Borrower shall pay
                              to Note Holder on demand any and all expenses, including
                              reasonable legal expenses and attorneys’ fees, incurred or
                              paid by Lender in enforcing this Note.

       27.    Defendant, Renewd Homes, failed to pay any amount due to FTF under Note 1

within ten (10) days after the due date for such payment. Specifically, Defendant failed to pay

FTF the monthly interest-only installments due on November 1, 2017, December 1, 2017,

January 1, 2018, February 1, 2018, and March 1, 2018, respectively (the “Note 1 Default”).

       28.    The Note 1 Default constitutes an event of default under the terms of Note, 1

Guaranty 1 and Mortgage 1.

       29.    On March 20, 2018, the Plaintiff, FTF, mailed a written notice of default (the

“Notice of Default-Note 1”) to Defendant, Renewd Homes. Notice of Default-Note 1 notified

Defendant of the Note 1 Default and provided Defendant with a cure period. A true and accurate
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 15 of 37 PageID #:1




copy of Notice of Default-Note 1 is attached hereto as Exhibit I and incorporated herein by

reference.

          30.    Defendant, Renewd Homes, failed to cure the Note 1 Default during the cure

period.

          31.    As of March 15, 2018, Defendant, Renewd Homes, owes the Plaintiff, FTF, the

total sum of $602,931.32 [unpaid principal of $560,000.00, plus accrued and unpaid contract

interest of $28,233.32, late charges of $1,848.00, draw fees of $400.00, extension fees of

$11,200.00, collection expenses of $1,000.00, and the payoff preparation and processing fee of

$250.00], plus per diem interest in the sum of $171.11 from March 16, 2018 and thereafter, and

all other amounts recoverable under Note 1 (the “Note 1 Balance”).

          WHEREFORE, the Plaintiff, FTF, respectfully requests the following relief upon Count

One of the Complaint:

                 a.     Judgment in favor of the Plaintiff, FTF, and against Defendant, Renewd
                        Homes, in the amount of the Note 1 Balance; and

                 b.     such further relief as the Plaintiff, FTF, may be entitled to in equity or at
                        law and/or as this Honorable Court deems just and proper.


                                          COUNT TWO
                                       Breach of Guaranty 1
                                        Defendant, O’Neill

          32.    For Count Two of the Complaint, the Plaintiff, FTF, adopts, reaffirms, and

reincorporates all of the aforesaid allegations and statements as if fully rewritten herein.

          33.    According to the terms of Guaranty 1, Defendant, O’Neill, agreed as follows:

                 2.     AGREEMENT TO GUARANTEE.

                        2.1.   Obligations Guaranteed.

                               (a) Guarantor hereby irrevocably and unconditionally
                                   guarantees to Lender the full and prompt:
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 16 of 37 PageID #:1




                         (1) payment when due of the principal, interest and
                             other sums due with respect to the loan, whether
                             now existing or hereafter incurred (including
                             any increase in the indebtedness under the Loan
                             Documents), and all other obligations whenever
                             incurred by Borrower to Lender with respect to
                             the loan and under or through the Loan
                             Documents, when and as the same shall become
                             due and payable, whether at the stated maturity
                             thereof, by acceleration, or otherwise; and

                         (2) payment and performance of all other
                             obligations of Borrower under the Loan
                             Documents, including, without limitation, the
                             full and indefeasible payment and performance
                             when due of all now existing or future
                             indebtedness, obligations or liabilities of
                             Borrower to Lender, howsoever arising, whether
                             direct or indirect, absolute or contingent, secured
                             or unsecured, whether arising under any of the
                             Loan Documents as now written or as the same
                             may be amended or supplemented hereafter, or
                             by operation of law or otherwise. Payments by
                             Guarantor shall be made upon demand in the
                             lawful money of the United States of America.

                     (b) Each and every default in the payment of the principal or
                         interest or any other sum due under, or borrowing in
                         accordance with, the Loan Documents shall give rise to a
                         separate cause of action hereunder, and separate suits
                         may be brought hereunder as each cause of action arises.

                     (c) Guarantor further agrees that this Guaranty constitutes
                         an absolute, unconditional, present and continuing
                         GUARANTEE OF PAYMENT AND PERFORMANCE
                         AND NOT OF COLLECTION, and Guarantor waives
                         any right to require that any resort be had by Lender to:

                         (1) any security (including, without limitation, the
                             Collateral) held by Lender or for its benefit for
                             payment of the principal, interest or any other
                             sums due under the Loan Documents; or

                         (2) Lender’s rights against any other person
                             including Borrower or any other guarantor of the
                             loan; or

                         (3) any other right or remedy available to Lender by
                             contract, applicable law or otherwise.
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 17 of 37 PageID #:1



                         It is the intent of this Guaranty that Lender shall
                         have the right to resort to Guarantor without
                         resorting to any remedy against Borrower and
                         without demand by it, as though Guarantor is
                         primarily liable for the repayment of the
                         indebtedness.

              2.2.   Obligations Unconditional. The obligations of Guarantor under
                     this Guaranty shall be absolute and unconditional and shall
                     remain in full force and effect until the entire principal, interest
                     and all other sums due under the Loan Documents have been
                     paid in full (subject to the provisions of Section 2.7 hereof) and
                     all costs and expenses, if any, referred to in Section 2.4 hereof
                     shall have been paid in full. . . .

              2.3.   No Waiver of Set-Off; No Right to Jury Trial. No act of
                     commission or omission of any kind or at any time made by or
                     upon the part of Lender, or its successors and assigns, in respect
                     of any matter whatsoever shall in any way impair the rights of
                     Lender, or any such successor or assign, to enforce any right,
                     power or benefit under this Guaranty and no set-off,
                     counterclaim (other than a mandatory or compulsory
                     counterclaim), reduction or diminution of any obligation, or any
                     defense of any kind or nature which Guarantor has or may have
                     against Lender, or any assignee or successor thereof, shall be
                     available hereunder to Guarantor in respect of any matter arising
                     out of this Guaranty. GUARANTOR WAIVES TRIAL BY
                     JURY IN ANY ACTION, SUIT OR PROCEEDING IN
                     RESPECT OF, OR ARISING OUT OF, THIS GUARANTY OR
                     THE OBLIGATIONS OF GUARANTOR HEREUNDER.
                     THIS WAIVER OF RIGHT TO TRIAL BY JURY IS GIVEN
                     KNOWINGLY AND VOLUNTARILY BY GUARANTOR
                     AND IS INTENDED TO ENCOMPASS INDIVIDUALLY
                     EACH INSTANCE AND EACH ISSUE AS TO WHICH THE
                     RIGHT TO A TRIAL BY JURY WOULD OTHERWISE
                     ACCRUE.

              2.4.   Waiver of Notice; Expenses.

                     (a) Guarantor hereby expressly waives notice from Lender
                         of its acceptance and reliance on this Guaranty.
                         Guarantor agrees to pay all costs, fees, commissions and
                         expenses (including, without limitation, all reasonable
                         attorneys’ fees) which may be incurred by Lender in
                         enforcing or attempting to enforce this Guaranty,
                         whether the same shall be enforced by suit or otherwise.

        3.    NOTICE OF SERVICE OF PROCESS PLEADINGS AND OTHER
              PAPERS. . . .

              3.2.   Consent    of   Jurisdiction.      Guarantor     irrevocably    and
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 18 of 37 PageID #:1



                             unconditionally:

                             (a) agrees that any suit, action or other legal proceeding
                                 arising out of this Guaranty may be brought in the courts
                                 of record of the State of Illinois or any Federal court in
                                 Illinois, and that such courts shall have in personam
                                 jurisdiction of Guarantor in any such suit, action or other
                                 legal proceeding; and

                             (b) consents to the jurisdiction of each such court in any
                                 such suit, action or other legal proceeding; and

                             (c) waives any objection which it may have to the laying of
                                 venue of any such suit, action or proceeding in any of
                                 such courts.

       34.    The Note 1 Default constitutes an event of default under the terms of Note 1,

Mortgage 1 and Guaranty 1.

       35.    On March 20, 2018, the Plaintiff, FTF, mailed the Notice of Default-Note 1 to

Defendant, O’Neill. Notice of Default-Note 1 notified Defendant of the Note 1 Default and

provided Defendant with a cure period. See Exhibit I.

       36.    Defendant, O’Neill, failed to cure the Note 1 Default during the cure period.

       37.    As of March 15, 2018, Defendant, O’Neill, owes the Plaintiff, FTF, the total sum

of $602,931.32 [unpaid principal of $560,000.00, plus accrued and unpaid contract interest of

$28,233.32, late charges of $1,848.00, draw fees of $400.00, extension fees of $11,200.00,

collection expenses of $1,000.00, and the payoff preparation and processing fee of $250.00], plus

per diem interest in the sum of $171.11 from March 16, 2018 and thereafter, and all other

amounts recoverable under Guaranty 1 (the “Guaranty 1 Balance”).

       WHEREFORE, the Plaintiff, FTF, respectfully requests the following relief upon Count

Two of the Complaint:

              a.      Judgment in favor of the Plaintiff, FTF, and against Defendant, O’Neill, in
                      the amount of Guaranty 1 Balance; and

              b.      such further relief as the Plaintiff, FTF, may be entitled to in equity or at
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 19 of 37 PageID #:1




                       law and/or as this Honorable Court deems just and proper.


                                   COUNT THREE
                                 Breach of Mortgage 1
   Defendants, Renewd Homes, Lautenbach Family Trust, Schilling Brothers, and Lautenbach

       38.     For Count Three of the Complaint, the Plaintiff, FTF, adopts, reaffirms, and

reincorporates all of the aforesaid allegations and statements as if fully rewritten herein.

       39.     The following allegations concerning Mortgage 1 are made pursuant to, and shall

be construed in accordance with, 735 ILCS 5/15-1504:

               a.      Nature of Instrument: Mortgage 1 upon Property 1 to secure
                       repayment of Note 1 and all other indebtedness owed to the
                       Plaintiff, FTF, by Defendant, Renewd Homes and O’Neill, jointly
                       and severally.

               b.      Date of Mortgage 1: July 15, 2016.

               c.      Original/Current Mortgagor: Renewd Homes.

               d.      Original/Current Mortgagee: FTF.

               e.      Recording Information: Mortgage 1 was filed for record and
                       recorded on August 1, 2016 in the Office of the Recorder of Deeds
                       of Cook County, Illinois as Document #1621434186.

               f.      Interest in Property 1 Subject to Mortgage 1: Fee simple.

               g.      Amount of Maximum Original Indebtedness under Mortgage 1:
                       $560,000.00.

               h.      Legal Description and Common Address of the Premises:

                       (i)     Legal Description:
                               LOT 13 IN THE SUBDIVISION OF BLOCK 10 IN J.C.
                               CALDWELL’S SUBDIVISION OF C.C. LAYS
                               ADDITION TO WESTERN SPRINGS (EXCEPT BLOCK
                               15 AND THE NORTH 2 ACRES OF THE LAST 1/2
                               BLOCK 16, INCLUDING THE 1/2 STREETS) BEING A
                               SUBDIVISION OF THE EAST PART OF THE
                               NORTHWEST 1/4 OF SECTION 6, TOWNSHIP 38
                               NORTH, RANGE 12, EAST OF THE THIRD
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 20 of 37 PageID #:1




                      PRINCIPAL MERIDIAN AND 3.554 ACRES IN THE
                      SOUTH PART OF SECTION 31, TOWNSHIP 39
                      NORTH, RANGE 12, EAST OF THE THIRD
                      PRINCIPAL MERIDIAN, IN COOK COUNTY,
                      ILLINOIS.

              (ii)    Common Address:
                      1426 Maple Street, Western Springs, Illinois 60558

              (iii)   Property Identification No.:
                      18-06-121-022-0000

        i.    Statement as to Default: Defendants, Renewd Homes and O’Neill,
              jointly and severally, are in default of the terms under Note 1 and
              Guaranty 1, respectively, due to Defendants’ failure to pay the
              Plaintiff, FTF, under Note 1 and Guaranty 1, the monthly interest-
              only installments due on November 1, 2017, December 1, 2017,
              January 1, 2018, February 1, 2018, and March 1, 2018,
              respectively, and, as such, Defendants are in default under the
              terms of Mortgage 1.

        j.    Present Owner of Property 1: Renewd Homes.

        k.    Other Parties to this Action Whose Interest in or Lien upon
              Property 1 Are Sought to Be Terminated:

              (i)     Renewd Homes;
              (ii)    Lautenbach Family Trust;
              (iii)   Schilling Brothers; and
              (iv)    Lautenbach.

        l.    Defendants Personally Liable for Deficiency, if Any:

              (i)     Renewd Homes; and
              (ii)    O’Neill.

        m.    Capacity of the Plaintiff in This Action: The Plaintiff, FTF, is the
              legal holder of Mortgage 1 by virtue of Mortgage 1 dated July 15,
              2016 and record on August 1, 2016 as further set forth above.

        n.    Facts Supporting Shortened Redemption Period: None as of the
              filing of this Complaint.

        o.    Facts in Support of Request for Attorneys’ Fees, Costs, and
              Expenses: The Plaintiff, FTF, seeks the inclusion of attorneys’
              fees, costs and expenses pursuant to the terms of Mortgage 1,
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 21 of 37 PageID #:1




                      Section 21 entitled Acceleration; Remedies at Pages 10-11 of the
                      recorded document. Further, the preceding statement shall be
                      deemed and construed to include the allegations contained in 735
                      ILCS 5/15-1504(d)(1)-(6).

              p.      The Plaintiff, FTF, seeks to terminate the rights of all Defendants
                      named herein to possess Property 1 following confirmation of the
                      judicial sale of Property 1 based upon Plaintiff’s right to possess
                      Property 1 under the terms and conditions of Mortgage 1.

              q.      Facts in support of the appointment of a mortgagee in possession
                      of or receiver for Property 1, if sought, will be set forth in a
                      separate motion filed with this Honorable Court. The Plaintiff,
                      FTF, respectfully requests that this Honorable Court retain
                      jurisdiction for the purposes of deciding such a motion.

              r.      Additional Allegations: The Plaintiff, FTF, asserts its claim for any
                      deficiency balance remaining under Note 1 following the judicial
                      sale of Property 1.

       40.    Upon information and belief, Defendant, Lautenbach Family Trust, may have an

interest, claim, encumbrance, or lien against Property 1 by virtue of a certain mortgage in favor

of Defendant and against Defendant, Renewd Homes, in the amount of $100,000.00, plus interest

and costs. The mortgage was dated September 14, 2016 and filed for record and recorded on

September 19, 2016 in the Office of the Recorder of Deeds of Cook County, Illinois as

Document #1626308113.

       41.    Upon information and belief, Defendant, Schilling Brothers, may have an interest,

claim, encumbrance, or lien against Property 1 by virtue of a certain mechanic’s lien in favor of

Defendant and against Defendant, Renewd Homes, in the amount of $36,455.24, plus interest,

penalties and costs. The mechanic’s lien was dated July 28, 2017 and filed for record and

recorded on July 28, 2017 in the Office of the Recorder of Deeds of Cook County, Illinois as

Document #1720957121.

       42.    Upon information and belief, Defendant, Lautenbach, may have an interest, claim,
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 22 of 37 PageID #:1




encumbrance, or lien against Property 1 by virtue of a certain mortgage in favor of Defendant

and against Defendant, Renewd Homes, in the amount of $25,000.00, plus interest and costs.

The mortgage was dated September 14, 2016 and filed for record and recorded on September 20,

2017 in the Office of the Recorder of Deeds of Cook County, Illinois as Document

#1726308125.

       43.     In order to protect the lien and security of Mortgage 1 during the pendency of the

within action, the Plaintiff, FTF, may be required to pay insurance premiums, real estate taxes,

assessments, water charges, sewer charges, attorneys’ fees, repairs and other expenses or charges

affecting Property 1. The Plaintiff requests that any amount so paid and expended by the

Plaintiff during the pendency of the within action be added, pursuant to the terms of Mortgage 1,

to Plaintiff’s claim and be repaid to the Plaintiff from the proceeds of the sale of Property 1,

together with interest thereon from the date such expenditures are made and that the same be

added to the amounts due to the Plaintiff and secured by Mortgage 1.

       WHEREFORE, the Plaintiff, FTF, respectfully requests the following relief upon Count

Three of the Complaint:

               a.     Judgment of foreclosure and sale of Mortgage 1 in favor of the Plaintiff,
                      FTF, and against Defendant, Renewd Homes and

               b.     an Order fixing the total amount due under the terms of Mortgage 1,
                      together with interest, costs, collection expenses, including reasonable
                      attorneys’ fees, and all other amounts recoverable under Mortgage 1; and

               c.     an Order (i) requiring all Defendants to answer as to their respective
                      claims, encumbrances, interests and/or liens, if any, in and to Property 1,
                      or forever be barred, and (ii) barring and foreclosing the equity of
                      redemption of Defendant, Renewd Homes, in and to Property 1; and

               d.     an Order (i) marshalling all claims, encumbrances, interests and/or liens in
                      and to Property 1, and (ii) determining the priorities of all Parties to the
                      within action; and
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 23 of 37 PageID #:1




               e.      an Order adjudging Property 1 be sold according to law and Order(s) of
                       this Honorable Court to satisfy the total amount due to the Plaintiff, FTF,
                       under the terms of Mortgage 1; and

               f.      Judgment for any deficiency balance remaining under Mortgage 1
                       following the Marshal’s Sale or Receiver’s Sale (if a receiver is appointed
                       by this Honorable Court); and

               g.      Judgment for the costs and collection expenses, including reasonable
                       attorneys’ fees, pursuant to the terms of Mortgage 1; and

               h.      such further relief as the Plaintiff, FTF, may be entitled to in equity or at
                       law and/or as this Honorable Court deems just and proper.


                                         COUNT FOUR
                                        Breach of Note 2
                                    Defendant, Renewd Homes

       44.     For Count Four of the Complaint, the Plaintiff, FTF, adopts, reaffirms and

reincorporates all of the aforesaid allegations and statements as if fully rewritten herein.

       45.     According to the terms of Note 2, Defendant, Renewd Homes, agreed as follows:

               1.      BORROWER’S PROMISE TO PAY. In return for a loan made by
                       Lender to Borrower secured by that certain Mortgage (as hereinafter
                       defined), Borrower promises to pay U.S. $340,000.00 (hereinafter the
                       “Principal”), plus interest and other sums due, to the order of Lender, in
                       accordance with the terms of this Note. Borrower will make all
                       payments under this Note in the form of check or federal funds transfer
                       to an account designated by Lender or in such other manner as may be
                       designated by Lender. Borrower understands that Lender may transfer
                       this Note. Lender or anyone who takes this Note by transfer and who is
                       entitled to receive payments under this Note is hereinafter called the
                       “Note Holder.”

               2.      INTEREST. Absent an Event of Default (as hereinafter defined), interest
                       under this Note shall be due and payable at the “Applicable Interest
                       Rate” (as hereinafter defined) for the period from the date hereof through
                       the Maturity Date, as the same may be extended, or through the earlier
                       prepayment of the Loan in full. The term “Applicable Interest Rate,” as
                       used herein, shall mean an interest rate equal to Eleven (11%) percent
                       per annum. Interest for any month or fractional part thereof shall be
                       calculated on the basis of a 30-day month and 360-day year, shall accrue
                       and compound on a monthly basis, and shall be due and payable
                       hereunder monthly.

               3.      PAYMENT TERMS.
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 24 of 37 PageID #:1



              3.1.   Borrower agrees to pay sums under this Note in installments
                     as follows:

                     (a) On the date hereof in the sum of Nine Thousand
                         Three Hundred Fifty and 00/100 Dollars ($9,350)
                         (Three Months Interest) plus Two Thousand Five
                         Hundred Ninety-Seven and 22/100 Dollars
                         ($2,597.22) (Balance of Current Month Interest)
                         representing interest only from the date of this Note
                         through March 7, 2017. Interest shall be calculated
                         based on outstanding principal balance owed and
                         reconciled upon payoff of loan.

                     (b) Commencing on June 1, 2017 and on the first day of
                         each month thereafter (“Monthly Payment Date”),
                         Borrower shall pay to Lender monthly installments
                         of interest only due in accordance with the terms of
                         this Note.

                     (c) All accrued and unpaid interest and the unpaid
                         principal balance hereof are due and payable on the
                         earlier to occur of (i) March 7, 2018 (the “Maturity
                         Date”), or (ii) the date on which the Indebtedness
                         (hereinafter defined) becomes immediately due and
                         payment hereunder.

                     (d) Borrower shall have the right to extend the Maturity
                         Date for one (1) three (3) month period from the
                         Maturity Date (the “Extension Term”), for a fee
                         payable to Lender equal to one percent (1%) of the
                         Principal, provided that there is no ongoing Event of
                         Default under this Note or the Loan Documents and
                         Borrower has delivered written notice to Lender that
                         they wish to exercise such extension at least forty-
                         five (45) days prior to the first day of the Extension
                         Term. The Maturity Date established by this
                         Extension Term shall be known as the “Extended
                         Maturity Date” . . . .

        6.    DEFAULT AND ACCELERATION.

              6.1.    It is hereby expressly agreed that (A) the whole of the
                     principal sum of this Note, (B) interest, default interest, late
                     charges, fees and other sums, as provided in this Note, (C)
                     all other monies agreed or provided to be paid by Borrower
                     in this Note, the Mortgage or the Loan Documents, (D) all
                     sums advanced pursuant to the Mortgage and/or the Loan
                     Documents, and (E) all sums advanced and costs and
                     expenses incurred by Lender in connection with the
                     Indebtedness (as hereinafter defined) or any part thereof, any
                     renewal, extension, or change of or substitution for the
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 25 of 37 PageID #:1



                     Indebtedness or any part thereof, or the acquisition or
                     perfection of the security granted pursuant to the Mortgage
                     and the other Loan Documents, whether made or incurred at
                     the request of Borrower or Lender (the sums referred to in
                     (A) through (E) above shall collectively be referred to as the
                     “Indebtedness”) shall, WITHOUT NOTICE (unless
                     otherwise provided herein), become immediately due and
                     payable at the option of the Note Holder upon the happening
                     of any of the following events (each, an “Event of Default”):

                     (a) Borrower fails to pay any amount due to Lender
                         under this Note, within ten (10) days after the due
                         date for such payment;

                     (b) Borrower fails to keep, observe or perform any other
                         promise, condition or agreement contained in this
                         Note, the Mortgage, the Loan Documents or any
                         other documents described herein or delivered in
                         connection herewith or is otherwise in default under
                         the terms, covenants and conditions of this Note, the
                         Mortgage and the Loan Documents, and such failure
                         or default is not remedied within thirty (30) days
                         after written notice to Borrower thereof, provided,
                         however, that if such failure or default is not capable
                         of being cured or remedied within said thirty (30)
                         day period, then if Borrower fails to promptly
                         commence to cure the same and thereafter diligently
                         prosecute such cure to completion but in any event
                         within sixty (60) days after notice thereof;

                     (c) There is a material misstatement in any certificate
                         and/or certification delivered in connection with this
                         Note, the Mortgage, and other Loan Documents, or
                         any representation, disclosure, warranty, statement,
                         financial information, application and/or other
                         instrument, record, documentation or paper made or
                         furnished by or on behalf of Borrower in connection
                         with this Note shall be materially misleading, untrue
                         or incorrect as of the later of (i) the date hereof or
                         (ii) when made[] . . .

                     (h) Borrower or a member of Borrower shall have
                         concealed, removed and/or permitted to be
                         concealed or removed any substantial part of its
                         property and/or assets with the intent to hinder,
                         delay or defraud Lender of any of its property and/or
                         assets which may be fraudulent under any federal or
                         state bankruptcy, fraudulent conveyance or similar
                         law now or hereafter enacted, or if Borrower shall
                         have made any transfer of any of its property and/or
                         assets to or for the benefit of a creditor at a time
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 26 of 37 PageID #:1



                         when other creditors similarly situated have not been
                         paid, or if Borrower shall have suffered or permitted
                         to be suffered, while insolvent, any creditor to obtain
                         a lien upon any of its property and/or assets through
                         legal proceedings or distraint which is not vacated
                         within 60 days from the date of entry thereof;

                     (i) Borrower defaults under any other note, instrument,
                         agreement, contract, pledge, mortgage or
                         encumbrance evidencing and/or securing the
                         Indebtedness or any other indebtedness of Borrower
                         to Lender, and such event or occurrence is not
                         remedied or cured within ten (10) days after notice
                         thereof or an “event of default” (as defined in such
                         other note, instrument, agreement, contract, pledge,
                         mortgage or encumbrance) shall have occurred[] . . .

        7.    DEFAULT INTEREST/LATE CHARGES.

              7.1.   From and after the occurrence of an Event of Default,
                     regardless of whether or not there has been a notice of
                     default issued by the Note Holder, interest shall accrue on
                     the outstanding Principal Sum, and shall be payable, at a rate
                     equal to twenty-four percent (24%) per annum (the “Default
                     Rate”). The Default Rate shall remain in effect until any and
                     all Events of Default shall have been cured. In addition, the
                     Default Rate shall remain in effect during any period of
                     default even upon the acceleration of the indebtedness
                     evidence by this Note. The Default Rate shall be in effect at
                     all times after the maturity of the Indebtedness (whether on
                     the Maturity Date, by acceleration or otherwise). Upon
                     acceleration or maturity, the Default Rate shall remain in
                     effect until all sums due under this Note, the Mortgage and
                     the Loan Documents shall have been paid in full. This
                     clause, however, shall not be construed as an agreement or
                     privilege to extend the date of the payment of the
                     Indebtedness, or as a waiver of any other right or remedy
                     accruing to Lender by reason of the occurrence of any Event
                     of Default.

              7.2.   Except for any payment of the Indebtedness after
                     acceleration, if any payment (or part thereof) provided for
                     herein shall not be made when due, a late charge of six
                     ($0.06) cents for each dollar so overdue shall become
                     immediately due and payable to the Note Holder as
                     liquidated damages for failure to make prompt payment and
                     the same shall be secured by the Mortgage. This fee is not a
                     penalty but a fee reasonably calculated to reimburse the Note
                     Holder for administrative and staff time. Such charge shall
                     be payable in any event no later than the due date of the next
                     subsequent installment or, at the option of Note Holder, may
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 27 of 37 PageID #:1



                     be deducted from any deposits held by Lender as additional
                     security for this Note. Nothing herein is intended to or shall
                     extend the due dates set forth for payments under this Note.
                     Such late fee may be charged on any subsequent delinquent
                     payment. . . .

        8.    WAIVERS. . . .

              8.4.   BORROWER AND EACH ENDORSER AGREE THAT
                     ANY ACTION, SUIT OR PROCEEDING IN RESPECT OF
                     OR ARISING OUT OF THIS NOTE MAY BE INITIATED
                     AND PROSECUTED IN THE STATE OR FEDERAL
                     COURTS, AS THE CASE MAY BE, LOCATED IN THE
                     COUNTY OF COOK, STATE OF ILLINOIS.
                     BORROWER AND EACH ENDORSER CONSENT TO
                     AND SUBMIT TO THE JURISDICTION OF SUCH
                     COURTS OVER THE SUBJECT MATTER, WAIVE
                     PERSONAL SERVICE OF ANY AND ALL PROCESS
                     UPON IT AND CONSENT THAT ALL SUCH SERVICE
                     OF PROCESS BE MADE BY REGISTERED OR
                     CERTIFIED MAIL OR REPUTABLE OVERNIGHT
                     DELIVERY SERVICE DIRECTED TO BORROWER OR
                     SUCH ENDORSER AT ITS ADDRESS SET FORTH
                     ABOVE OR TO ANY OTHER ADDRESS AS MAY
                     APPEAR IN LENDER’S RECORDS AS THE ADDRESS
                     OF BORROWER OR SUCH ENDORSER.

              8.5.   IN ANY ACTION, SUIT OR PROCEEDING IN RESPECT
                     OF OR ARISING OUT OF THIS NOTE, BORROWER
                     AND EACH ENDORSER WAIVE TRIAL BY JURY IN
                     ANY ACTION, PROCEEDING OR COUNTERCLAIM,
                     WHETHER IN CONTRACT, TORT OR OTHERWISE,
                     RELATING DIRECTLY OR INDIRECTLY TO THE
                     LOAN    EVIDENCED    BY   THIS  NOTE,    THE
                     APPLICATION FOR THE LOAN EVIDENCED BY THIS
                     NOTE, THE MORTGAGE OR ANY OTHER LOAN
                     DOCUMENT, OR ANY ACTS OR OMISSIONS OF NOTE
                     HOLDER, ITS OFFICERS, EMPLOYEES, DIRECTORS
                     OR AGENTS IN CONNECTION THEREWITH. THIS
                     WAIVER OF RIGHT TO TRIAL BY JURY IS GIVEN
                     KNOWINGLY AND VOLUNTARILY BY BORROWER
                     AND EACH ENDORSER, AND IS INTENDED TO
                     ENCOMPASS INDIVIDUALLY EACH INSTANCE AND
                     EACH ISSUE AS TO WHICH THE RIGHT TO A TRIAL
                     BY JURY WOULD OTHERWISE ACCRUE.

              8.6.   BORROWER AND EACH ENDORSER ALSO WAIVE (I)
                     THE RIGHT TO INTERPOSE ANY SET-OFF OR
                     COUNTERCLAIM     OF   ANY    NATURE   OR
                     DESCRIPTION, OTHER THAN A MANDATORY OR
                     COMPULSORY     COUNTERCLAIM,    (II) ANY
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 28 of 37 PageID #:1



                               OBJECTION BASED ON FORUM NON CONVENIENS
                               OR VENUE, AND (III) ANY CLAIM FOR
                               CONSEQUENTIAL,   PUNITIVE  OR   SPECIAL
                               DAMAGES. . . .

                11.    MISCELLANEOUS. . . .

                       11.3.   Wherever pursuant to this Note it is provided that Borrower
                               pay any costs and expenses, such costs and expenses shall
                               include, without limitation, reasonable legal fees and
                               disbursements of Note Holder with respect to retained firms,
                               but shall not include the reimbursement of the expenses of
                               Note Holder’s in-house staff or counsel. Borrower shall pay
                               to Note Holder on demand any and all expenses, including
                               reasonable legal expenses and attorneys’ fees, incurred or
                               paid by Lender in enforcing this Note.

          46.   Defendant, Renewd Homes, failed to pay any amount due to FTF under Note 2

within ten (10) days after the due date for such payment. Specifically, Defendant failed to pay

FTF the unpaid principal balance, plus all accrued and unpaid interest and other amounts

recoverable under Note 2, on or before the maturity date of March 7, 2018 (the “Note 2

Default”).

          47.   The Note 2 Default constitutes an event of default under the terms of Note 2

Guaranty 2 and Mortgage 2.

          48.   On March 20, 2018, the Plaintiff, FTF, mailed a written notice of default (the

“Notice of Default-Note 2”) to Defendant, Renewd Homes. Notice of Default-Note 2 notified

Defendant of the Note 2 Default and provided Defendant with a cure period. A true and accurate

copy of Notice of Default-Note 2 is attached hereto as Exhibit J and incorporated herein by

reference.

          49.   Defendant, Renewd Homes, failed to cure the Note 2 Default during the cure

period.

          50.   As of March 15, 2018, Defendant, Renewd Homes, owes the Plaintiff, FTF, the

total sum of $328,373.25 [unpaid principal of $340,000.00, less remaining construction budget
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 29 of 37 PageID #:1




of $24,594.44, plus accrued and unpaid contract interest of $10,119.21, accrued and unpaid

default interest of $911.20, late charges of $687.28, collection expenses of $1,000.00, and the

payoff preparation and processing fee of $250.00], plus per diem interest in the sum of $210.27

from March 16, 2018 and thereafter, and all other amounts recoverable under Note 2 (the “Note

2 Balance”).

       WHEREFORE, the Plaintiff, FTF, respectfully requests the following relief upon Count

Four of the Complaint:

               a.      Judgment in favor of the Plaintiff, FTF, and against Defendant, Renewd
                       Homes, in the amount of the Note 2 Balance; and

               b.      such further relief as the Plaintiff, FTF, may be entitled to in equity or at
                       law and/or as this Honorable Court deems just and proper.


                                          COUNT FIVE
                                       Breach of Guaranty 2
                                        Defendant, O’Neill

       51.     For Count Five of the Complaint, the Plaintiff, FTF, adopts, reaffirms, and

reincorporates all of the aforesaid allegations and statements as if fully rewritten herein.

       52.     According to the terms of Guaranty 2, Defendant, O’Neill, agreed as follows:

               2.      AGREEMENT TO GUARANTEE.

                       2.1.    Obligations Guaranteed.

                               (a) Guarantor hereby irrevocably and unconditionally
                                   guarantees to Lender the full and prompt:

                                   (1) payment when due of the principal, interest and
                                       other sums due with respect to the loan, whether
                                       now existing or hereafter incurred (including
                                       any increase in the indebtedness under the Loan
                                       Documents), and all other obligations whenever
                                       incurred by Borrower to Lender with respect to
                                       the loan and under or through the Loan
                                       Documents, when and as the same shall become
                                       due and payable, whether at the stated maturity
                                       thereof, by acceleration, or otherwise; and
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 30 of 37 PageID #:1



                         (2) payment and performance of all other
                             obligations of Borrower under the Loan
                             Documents, including, without limitation, the
                             full and indefeasible payment and performance
                             when due of all now existing or future
                             indebtedness, obligations or liabilities of
                             Borrower to Lender, howsoever arising, whether
                             direct or indirect, absolute or contingent, secured
                             or unsecured, whether arising under any of the
                             Loan Documents as now written or as the same
                             may be amended or supplemented hereafter, or
                             by operation of law or otherwise. Payments by
                             Guarantor shall be made upon demand in the
                             lawful money of the United States of America.

                     (b) Each and every default in the payment of the principal or
                         interest or any other sum due under, or borrowing in
                         accordance with, the Loan Documents shall give rise to a
                         separate cause of action hereunder, and separate suits
                         may be brought hereunder as each cause of action arises.

                     (c) Guarantor further agrees that this Guaranty constitutes
                         an absolute, unconditional, present and continuing
                         GUARANTEE OF PAYMENT AND PERFORMANCE
                         AND NOT OF COLLECTION, and Guarantor waives
                         any right to require that any resort be had by Lender to:

                         (1) any security (including, without limitation, the
                             Collateral) held by Lender or for its benefit for
                             payment of the principal, interest or any other
                             sums due under the Loan Documents; or

                         (2) Lender’s rights against any other person
                             including Borrower or any other guarantor of the
                             loan; or

                         (3) any other right or remedy available to Lender by
                             contract, applicable law or otherwise.

                         It is the intent of this Guaranty that Lender shall
                         have the right to resort to Guarantor without
                         resorting to any remedy against Borrower and
                         without demand by it, as though Guarantor is
                         primarily liable for the repayment of the
                         indebtedness.

              2.2.   Obligations Unconditional. The obligations of Guarantor under
                     this Guaranty shall be absolute and unconditional, and shall
                     remain in full force and effect until the entire principal, interest
                     and all other sums due under the Loan Documents have been
                     paid in full (subject to the provisions of Section 2.7 hereof) and
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 31 of 37 PageID #:1



                     all costs and expenses, if any, referred to in Section 2.4 hereof
                     shall have been paid in full. . . .

              2.3.   No Waiver of Set-Off; No Right to Jury Trial. No act of
                     commission or omission of any kind or at any time made by or
                     upon the part of Lender, or its successors and assigns, in respect
                     of any matter whatsoever shall in any way impair the rights of
                     Lender, or any such successor or assign, to enforce any right,
                     power or benefit under this Guaranty and no set-off,
                     counterclaim (other than a mandatory or compulsory
                     counterclaim), reduction or diminution of any obligation, or any
                     defense of any kind or nature which Guarantor has or may have
                     against Lender, or any assignee or successor thereof, shall be
                     available hereunder to Guarantor in respect of any matter arising
                     out of this Guaranty. GUARANTOR WAIVES TRIAL BY
                     JURY IN ANY ACTION, SUIT OR PROCEEDING IN
                     RESPECT OF, OR ARISING OUT OF, THIS GUARANTY OR
                     THE OBLIGATIONS OF GUARANTOR HEREUNDER.
                     THIS WAIVER OF RIGHT TO TRIAL BY JURY IS GIVEN
                     KNOWINGLY AND VOLUNTARILY BY GUARANTOR
                     AND IS INTENDED TO ENCOMPASS INDIVIDUALLY
                     EACH INSTANCE AND EACH ISSUE AS TO WHICH THE
                     RIGHT TO A TRIAL BY JURY WOULD OTHERWISE
                     ACCRUE.

              2.4.   Waiver of Notice; Expenses.

                     (a) Guarantor hereby expressly waives notice from Lender
                         of its acceptance and reliance on this Guaranty.
                         Guarantor agrees to pay all costs, fees, commissions and
                         expenses (including, without limitation, all reasonable
                         attorneys’ fees) which may be incurred by Lender in
                         enforcing or attempting to enforce this Guaranty,
                         whether the same shall be enforced by suit or otherwise.

        3.    NOTICE OF SERVICE OF PROCESS PLEADINGS AND OTHER
              PAPERS. . . .

              3.2.   Consent of Jurisdiction.           Guarantor    irrevocably       and
                     unconditionally:

                     (a) agrees that any suit, action or other legal proceeding
                         arising out of this Guaranty may be brought in the courts
                         of record of the State of Illinois or any Federal court in
                         Illinois, and that such courts shall have in personam
                         jurisdiction of Guarantor in any such suit, action or other
                         legal proceeding; and

                     (b) consents to the jurisdiction of each such court in any
                         such suit, action or other legal proceeding; and
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 32 of 37 PageID #:1



                                (c) waives any objection which it may have to the laying of
                                    venue of any such suit, action or proceeding in any of
                                    such courts.

       53.       The Note 2 Default constitutes an event of default under the terms of Note 2,

Guaranty 2 and Mortgage 2.

       54.       On March 20, 2018, the Plaintiff, FTF, mailed the Notice of Default-Note 2 to

Defendant, O’Neill. Notice of Default-Note 2 notified Defendant of the Note 2 Default and

provided Defendant with a cure period. See Exhibit J.

       55.       Defendant, O’Neill, failed to cure the Note 2 Default during the cure period.

       56.       As of March 15, 2018, Defendant, O’Neill, owes the Plaintiff, FTF, the total sum

of $328,373.25 [unpaid principal of $340,000.00, less remaining construction budget of

$24,594.44, plus accrued and unpaid contract interest of $10,119.21, accrued and unpaid default

interest of $911.20, late charges of $687.28, collection expenses of $1,000.00, and the payoff

preparation and processing fee of $250.00], plus per diem interest in the sum of $210.27 from

March 16, 2018 and thereafter, and all other amounts recoverable under Guaranty 2 (the

“Guaranty 2”).

       WHEREFORE, the Plaintiff, FTF, respectfully requests the following relief upon Count

Five of the Complaint:

                 a.     Judgment in favor of the Plaintiff, FTF, and against Defendant, O’Neill, in
                        the amount of the Guaranty 2 Balance; and

                 b.     such further relief as the Plaintiff, FTF, may be entitled to in equity or at
                        law and/or as this Honorable Court deems just and proper.


                                          COUNT SIX
                                      Breach of Mortgage 2
                             Defendants, Renewd Homes and Gallichio

       57.       For Count Six of the Complaint, the Plaintiff, FTF, adopts, reaffirms, and
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 33 of 37 PageID #:1




reincorporates all of the aforesaid allegations and statements as if fully rewritten herein.

       58.     The following allegations concerning Mortgage 2 are made pursuant to, and shall

be construed in accordance with, 735 ILCS 5/15-1504:

               a.      Nature of Instrument: Mortgage 2 upon Property 2 to secure
                       repayment of Note 2 and all other indebtedness owed to the
                       Plaintiff, FTF, by Defendants, Renewd Homes and O’Neill, jointly
                       and severally.

               b.      Date of Mortgage 2: March 7, 2017.

               c.      Original/Current Mortgagor: Renewd Homes.

               d.      Original/Current Mortgagee: FTF.

               e.      Recording Information: Mortgage 2 was filed for record and
                       recorded on May 11, 2017 in the Office of the Recorder of Deeds
                       of Cook County, Illinois as Document #1713149339.

               f.      Interest in Property 2 Subject to Mortgage 2: Fee simple.

               g.      Amount of Maximum Original Indebtedness under Mortgage 2:
                       $340,000.00.

               h.      Legal Description and Common Address of the Premises:

                       (i)     Legal Description:
                               LOT SEVENTY (70) IN SUBDIVISION OF LOT “A” IN
                               KIRCHMAN AND JEDLANS RIVERSIDE PARKWAY
                               AND HARLEM AVENUE SUBDIVISION OF THAT
                               PART OF LOT TWO (2) LYING SOUTH OF THE
                               CENTER OF RIVERSIDE PARKWAY, AND ALL OF
                               LOTS THREE AND FOUR OF CIRCUIT COURT
                               PARTITION OF SOUTHEAST QUARTER OF
                               SOUTHEAST QUARTER AND THE EAST HALF OF
                               THE NORTHEAST QUARTER OF SOUTHEAST
                               QUARTER OF SECTION 25, TOWNSHIP 39 NORTH,
                               RANGE 12, EAST OF THE THIRD PRINCIPAL
                               MERIDIAN, IN COOK COUNTY, ILLINOIS.

                       (ii)    Common Address:
                               747 Arlington Road, Riverside, Illinois 60546

                       (iii)   Property Identification No.:
Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 34 of 37 PageID #:1




                     15-25-416-022-0000

        i.    Statement as to Default: Defendants, Renewd Homes and O’Neill,
              jointly and severally, are in default of the terms under Note 2 and
              Guaranty 2, respectively, due to Defendants’ failure to fully satisfy
              the debt owed to the Plaintiff, FTF, under Note 2 and Guaranty 2
              on or before March 7, 2018, and, as such, Defendants are in default
              under the terms of Mortgage 2.

        j.    Present Owner of Property 2: Renewd Homes.

        k.    Other Parties to this Action Whose Interest in or Lien upon
              Property 2 Are Sought to Be Terminated:

              (i)    Renewd Homes; and
              (ii)   Gallichio.

        l.    Defendants Personally Liable for Deficiency, if Any:

              (i)    Renewd Homes; and
              (ii)   O’Neill.

        m.    Capacity of the Plaintiff in This Action: The Plaintiff, FTF, is the
              legal holder of Mortgage 2 by virtue of Mortgage 2 dated March 7,
              2017 and recorded on May 11, 2017 as further set forth above.

        n.    Facts Supporting Shortened Redemption Period: None as of the
              filing of this Complaint.

        o.    Facts in Support of Request for Attorneys’ Fees, Costs, and
              Expenses: The Plaintiff, FTF, seeks the inclusion of attorneys’
              fees, costs and expenses pursuant to the terms of Mortgage 2,
              Section 21 entitled Acceleration; Remedies at Pages 10-11 of the
              recorded document. Further, the preceding statement shall be
              deemed and construed to include the allegations contained in 735
              ILCS 5/15-1504(d)(1)-(6).

        p.    The Plaintiff, FTF, seeks to terminate the rights of all Defendants
              named herein to possess Property 2 following confirmation of the
              judicial sale of Property 2 based upon Plaintiff’s right to possess
              Property 2 under the terms and conditions of Mortgage 2.

        q.    Facts in support of the appointment of a mortgagee in possession
              of or receiver for the Premises, if sought, will be set forth in a
              separate motion filed with this Honorable Court. The Plaintiff,
              FTF, respectfully requests that this Honorable Court retain
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 35 of 37 PageID #:1




                        jurisdiction for the purposes of deciding such a motion.

               r.       Additional Allegations: The Plaintiff, FTF, asserts its claim for any
                        deficiency balance remaining under Note 2 following the judicial
                        sale of Property 2.

       59.     Upon information and belief, Defendant, Gallichio, may have an interest, claim,

encumbrance, or lien against Property 2 by virtue of a certain mortgage in favor of Defendant

and against Defendant, Renewd Homes, in the amount of $93,480.00, plus interest and costs.

The mortgage was dated March 22, 2017 and filed for record and recorded on December 21,

2017 in the Office of the Recorder of Deeds of Cook County, Illinois as Document

#1735547005.

       60.     In order to protect the lien and security of Mortgage 2 during the pendency of the

within action, the Plaintiff, FTF, may be required to pay insurance premiums, real estate taxes,

assessments, water charges, sewer charges, attorneys’ fees, repairs and other expenses or charges

affecting Property 2. The Plaintiff requests that any amount so paid and expended by the

Plaintiff during the pendency of the within action be added, pursuant to the terms of Mortgage 2,

to Plaintiff’s claim and be repaid to the Plaintiff from the proceeds of the sale of Property 2,

together with interest thereon from the date such expenditures are made and that the same be

added to the amounts due to the Plaintiff and secured by Mortgage 2.

       WHEREFORE, the Plaintiff, FTF, respectfully requests the following relief upon Count

Six of the Complaint:

               a.       Judgment of foreclosure and sale of Mortgage 2 in favor of the Plaintiff,
                        FTF, and against Defendant, Renewd Homes; and

               b.       an Order fixing the total amount due under the terms of Mortgage 2,
                        together with interest, costs, collection expenses, including reasonable
                        attorneys’ fees, and all other amounts recoverable under Mortgage 2; and

               c.       an Order (i) requiring all Defendants to answer as to their respective
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 36 of 37 PageID #:1




                        claims, encumbrances, interests and/or liens, if any, in and to Property 2,
                        or forever be barred, and (ii) barring and foreclosing the equity of
                        redemption of Defendant, Renewd Homes, in and to Property 2; and

              d.        an Order (i) marshalling all claims, encumbrances, interests and/or liens in
                        and to Property 2, and (ii) determining the priorities of all Parties to the
                        within action; and

              e.        an Order adjudging Property 2 be sold according to law and Order(s) of
                        this Honorable Court to satisfy the total amount due to the Plaintiff, FTF,
                        under the terms of Mortgage 2; and

              f.        Judgment for any deficiency balance remaining under Mortgage 2
                        following the Marshal’s Sale or Receiver’s Sale (if a receiver is appointed
                        by this Honorable Court); and

              g.        Judgment for the costs and collection expenses, including reasonable
                        attorneys’ fees, pursuant to the terms of Mortgage 2; and

              h.        such further relief as the Plaintiff, FTF, may be entitled to in equity or at
                        law and/or as this Honorable Court deems just and proper.


Dated: April 19, 2018                          Respectfully submitted by:

                                               s/ Michael J. Palumbo
                                               ____________________________________________________________________________________

                                               Michael J. Palumbo, Esquire
                                               Illinois Attorney Registration #6324998
                                               Anthony J. Gingo, Esquire
                                               Ohio Attorney Registration #0085669
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                                                         anthony@gplawllc.com
                                               Counsel for the Plaintiff
     Case: 1:18-cv-02784 Document #: 1 Filed: 04/19/18 Page 37 of 37 PageID #:1




                   DESIGNATION OF LOCAL COUNSEL FOR SERVICE
                         PURSUANT TO LOCAL RULE 83.15

       In accordance with Local Rule 83.15, the Plaintiff, FTF, hereby designates the following
attorney as local counsel upon whom service of papers may be made:

                                   David Sethi, Esquire
                                Wiedner & McAuliffe, Ltd.
                             One North Franklin Street, Floor 19
                                  Chicago, Illinois 60606
                                Telephone: (312) 855-1105
                                 Facsimile: (312) 855-1792
                               E-Mail: dasethi@wmlaw.com

                                           s/ Michael J. Palumbo
                                           ____________________________________________________________________________________

                                           Michael J. Palumbo, Esquire
                                           Anthony J. Gingo, Esquire
                                           Counsel for the Plaintiff
